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Harold Leggett, Ph.D.                            Senior Manager


                          PROFESSIONAL SUMMARY

                       Dr. Leggett has more than 25 years               Qualifications Quickview
                       of professional and consulting
                                                                           Area of Expertise:
                       experience      in   environmental         Environmental Compliance
                       management,          environmental         Emergency/Disaster Response
                       compliance, health and safety              Regulatory Coordination
                       compliance, PSM, natural resource
                       management       and   assessment,                        Experience:
                                                                    25 years in environmental field
                       NEPA and FERC coordination and
                                                                    Member of the Unified Command
compliance assessment. Dr. Leggett’s brings unique
                                                                     Group (UCG) for the State of
professional knowledge, experience and perspective having
                                                                     Louisiana and has served as lead
been gained from employment in industry (Forest Products
and Interstate Natural Gas Pipeline companies), regulatory
                                                                     contact between the state and
(La Dept of Environmental Quality and US Navy- Industrial
                                                                     federal agencies for emergency
Hygiene) and consulting engineering firms.                           response and environmental and
                                                                     debris management recovery
In addition, Dr. Leggett has been a member of the Unified            activities following Hurricanes
Command Group (UCG) for the State of Louisiana and has               Katrina, Rita, Gustav and Ike.
served as lead contact between the state and federal                Industrial Compliance Assessment
agencies for emergency response and environmental and               Regulatory & Legislative liaison
debris management recovery activities following Hurricanes           skills
                                                                    Facility Optimization and Efficiency
Katrina, Rita, Gustav and Ike.
                                                                    “Out-of-the-box” solutions
                                                                    Capable of managing large teams
He has served on numerous task force and appointments to
                                                                     on complex projects
develop and implement comprehensive environmental
regulations for Louisiana and the United States. Dr. Leggett                   Registrations:
has presented numerous presentations, white papers and             B.S. Agriculture, Southeastern
position publications on the impact of environmental rules          Louisiana University, 1979
and regulations on Louisiana. Recently, Dr. Leggett has had        M.S. Biology, Southeastern
a publication accepted for publication in the May/June issue        Louisiana University, 1981
of the Environmental Forum Journal which discusses the             Ph.D. Biology, University of
impact of environmental policy on economic and business             Southern Mississippi, 1992
interest in the United States.


RELEVANT EXPERIENCE:
      Dr. Leggett's project experience includes: NEPA & Natural Resource investigations for the US
       Army Corp of Engineers (USACOE) across the United States. These projects included EA and
       EIS investigations. The evaluation of T&E species and feasibility studies were other investigations
       provided for the USACOE.
      Specific environmental program experience has included EPA and State permitting and
       compliance programs including SPCC, Storm water Management and NPDES permitting,
       Resource Conservation and Recovery Act (RCRA) permitting and feasibility studies, RCRA
       delisting, multimedia compliance reviews and audits, Due Diligence investigations (Phase 1 & 2).

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     His occupational safety experience includes employment as an Industrial Hygienist for the US
      Navy Medical Command. This included activities at Naval Air Station –Pensacola for the US
      Naval Hospital and outlying bases. Dr. Leggett has worked for private industry and
      manufacturing. He has also been elected and served as President of the Zachary Community
      School Board.
     He has conducted optimization, streamlining and efficiency evaluations for business, industry and
      state government. The process has included the utilization of activity analysis, performance
      based standards and benchmarking techniques.
     Louisiana Department of Environmental Quality, Secretary, January 2008- January 2010,
      Baton Rouge, LA. The Secretary serves as the Governor’s representative for environmental
      policy and compliance efforts in Louisiana. Responsibilities include oversight of the LDEQ and
      associated functions. In addition, Dr. Leggett served as a member of the Unified Command for
      the state of Louisiana. This includes implementation of environmental policy and compliance
      statewide. Other duties include representation of the State and Governor on Federal, State and
      local environmental, emergency response, natural resource management and stewardship policy
      development. Other duties include interaction with community and governing authorities
      statewide. Extensive interaction with Federal regulatory and legislative representatives is another
      important function of the Secretary.
     Louisiana Department of Environmental Quality, Assistant Secretary, March 2004 –January
      2008, Baton Rouge, LA. Responsibilities include assessment of environmental compliance for
      regulated facilities statewide in all environmental media (air, water, waste). This included
      compliance inspections, audits and surveillance activities statewide. Other responsibilities
      included interpretation and enforcement of environmental rules and regulations. Representation
      of the LDEQ, interaction with the public, regulated entities and elected officials are other
      responsibilities. Development of new regulations and environmental policy are other
      responsibilities associated with this position. Additionally, Dr. Leggett served as coordinator of the
      LDEQ Incident Command, emergency response, debris management and field activities following
      Hurricane Katrina and Rita for the state of Louisiana.
     Gulf South Pipeline Company, Senior Environmental Engineer, November 2003- February
      2004, Covington, LA. Mr. Leggett was responsible for the coordination of the environmental
      efforts of Gulf South Pipeline. This included all environmental media (air, water & waste) and
      permit and compliance activities associated with the pipeline system. This also included NEPA
      and FERC compliance evaluations and coordination throughout the system.                    Extensive
      interaction and coordination with federal and state oversight and regulatory agencies, company
      employees and contractors to ensure compliance with regulatory requirements were key
      components of Mr. Leggett’s responsibilities.
     HLA, LLC, Senior Manager, September 1998- present, Zachary, LA. As Senior Manager Mr.
      Leggett coordinated the environmental services, consulting and training activities of HLA. This
      includes compliance assessment of multi-media (air, water & waste) activities, planning and
      impact assessment(s), regulatory (LDEQ, EPA, Corps of Engineers, OSHA, USFWS, SHPO, etc)
      interface and coordination, emergency response and debris management, facility inspections and
      audits, preparation & negotiation of regulatory permits, industrial hygiene and process safety
      management (PSM). In addition, HLA conducted assessments and evaluations of indoor air
      quality for clients. HLA clients included the chemical, petrochemical, forest products, mining and
      power generation industries, tribal and public sector.
     Georgia-Pacific Corporation, Manager, Compliance & Technology- Senior Environmental
      Engineer, July 1989-September 1998, Port Hudson Operations, Zachary, LA. The Manager of
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Harold Leggett, Ph.D.                          Senior Manager

      Compliance and Technology was directly responsible for the environmental, health and safety
      programs of the facility. PSM was implemented and OSHA recognized the facility as a Star Site
      in the OSHA VPP program. This included training and interaction with all union employees (875)
      of the facility to ensure compliance. Long term strategic planning were key components of the
      job responsibilities as well as interaction with regulators, legislators, neighbors and the
      community. Prior to becoming manager, Mr. Leggett was Technical Superintendent, (January
      1994- September 1997), The Technical Superintendent was responsible for facility compliance
      and customer support and quality control activities of the Environmental Services Group (4
      Environmental Engineers) and Laboratory Services (Chemist and 12 technicians) for the Port
      Hudson Operations. The superintendent also supervised the Project Engineers (11) and Process
      Engineers (9). These engineers were responsible for capital project installation and process
      modification and improvement. As the Environmental Superintendent, (August 1992-January
      1994), Mr. Leggett supervised the Facility compliance and permitting efforts in air, water, solid
      waste and hazardous waste management. This included coordination with state and federal
      regulatory agencies. Responsibilities also included the development of an employee awareness
      and involvement program for the union and salaried employees. In addition, extensive community
      involvement on facility related issues was required of this position. Mr. Leggett was employed as
      Senior Environmental Engineer from July 1989-July 1992; He was responsible for oversight of
      solid waste and wastewater activities. This included regulatory interaction and permitting.
     Gulf Engineers & Consultants, Program Manager (Environmental Services) May 1988- June
      1989, Baton Rouge, LA. The Program Manager supervised the consulting services and activities
      of the Environmental Services efforts of Gulf Engineers. GEC work efforts focused on Economic
      and Environmental projects for the Corps of Engineers as a NEPA compliance contractor for
      DOD.
     Gulf South Research Institute, Biologist, September 1986- May 1988, Environmental Services
      Group, Baton Rouge, LA. Prepared proposals and conducted project related work to support the
      program efforts of GSRI. GSRI focused on NEPA compliance activities and included EA’s, EIS's
      and other environmental projects for governmental agencies. Mr. Leggett was also active in the
      Biomonitoring Program for GSRI. This program evaluated the impact of industrial activities on
      water quality in Louisiana.
     Louisiana Department of Environmental Quality, Environmental Program Specialist, July
      1985-August 1986, Office of Water Resources, Water Pollution Control Division, Baton Rouge,
      LA. Mr. Leggett was a compliance inspector for the LDEQ. Mr. Leggett was involved in
      reviewing permits and facility compliance efforts. He also was involved in sampling and
      surveillance activities of facilities. Mr. Leggett helped to establish the LDEQ Biomonitoring
      Laboratory for the State of Louisiana. This lab was funded from an EPA grant and was
      responsible for evaluating the impact of industrial and non-point sources discharges statewide.
     University of Southern Mississippi, Research Associate & Teaching Assistant, August
      1981-June 1985, Department of Biological Sciences, Hattiesburg, MS. During graduate studies
      at USM, Mr. Leggett taught classes in Anatomy & Physiology, Honors Biology, Biology for
      Science Educators, and laboratory classes in Physiology, Anatomy and Physiology and
      Introductory Biology. In addition, Mr. Leggett worked as a Research Associate evaluating the
      impact of eutrophication and heavy loading on water quality in aquatic systems. Research led to
      the development and patenting of a unique allelopathic aquatic inhibitor for blue-green alga.
     Louisiana Department of Wildlife and Fisheries, Biologist, May 1985- August 1985, Louisiana
      Offshore Oil Platform (LOOP) Project, Baton Rouge, LA. Worked for LDWF as a marine biologist
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      evaluating the impact of the LOOP on water quality, benthos and fisheries resources in coastal
      Louisiana. Efforts included aquatic and benthic sampling and identification of species and water
      quality testing.
     Southeastern Louisiana University, Graduate Teaching Assistant, June 1979- April 1981,
      Southeastern Louisiana University, Department of Biology, Hammond, LA. Taught freshman
      laboratory classes in Zoology and Botany. In addition, taught a summer class in Comparative
      Anatomy.

  EDUCATION/ PROFESSIONAL REGISRATIONS/SPECIALTY CERTIFICATIONS:
     B.S. Agriculture, Southeastern Louisiana University, 1979
     M.S. Biology, Southeastern Louisiana University, 1981
     Ph.D. Biology, University of Southern Mississippi, 1992

  TRAINING/PUBLICATIONS/AFFILIATIONS:
     FBI Award for Exceptional Public Service, 2010
     Louisiana Environmental Leadership Award, LDEQ, 2010
     Governor’s Exe. Homeland Security Training, DHS & Naval Postgraduate School, 2008
     Louisiana Emergency Preparedness Association, Outstanding Service Award, 2006
     National Incident Management System (NIMS - 100,200,700 & 800)
     Incident Command System (ICS)-300 & 400
     Governor’s Award for Environmental Excellence, 1998
     CEI, 1997
     Environmental Auditor, Georgia-Pacific Corporation, 1996
     Chairman’s Award for Environmental Excellence, 1995
     Compliance Inspector, EPA
     Adjunct Graduate Faculty, Southern University, Baton Rouge
     Instructor, LDEQ and Univ. of Louisiana, Solid Waste Certification Program
     Commissioner, Louisiana Emergency Response Commission
     LDEQ Solid Waste Advisory (SWMP) Committee
     LDEQ Proposed Penalty Task Force
     Wetlands Advisory Task Force
     Capital Area Groundwater Conservation Commission, Board of Directors
     Capital Area Groundwater Conservation Commission, Vice-Chairman, Tech-Committee
     Louisiana Environmental Leadership Program
     The Zachary Chamber of Commerce




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